           Case 5:19-cv-01094-OLG Document 2 Filed 09/11/19 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 EUGENE WILLIAMS FKA REYNA E.                   §
 MCKINNEY,                                      §
                                                §
                  Plaintiff,                    §
                                                §        CIVIL ACTION NO. 5:19-cv-01094
 v.                                             §
                                                §
 WELLS FARGO USA HOLDINGS, INC.,                §
                                                §
                  Defendant.                    §

                            CORPORATE DISCLOSURE STATEMENT

        Under Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Wells Fargo USA

Holdings, Inc. (“Wells Fargo”) files this Disclosure Statement and would show as follows:

        Wells Fargo USA Holdings, Inc. is a wholly owned subsidiary of Wells Fargo Financial,

LLC, which is a wholly owned subsidiary of Wells Fargo & Company, a publicly traded bank

holding company in which no other publicly held corporation owns 10% or more of its stock.

        Wells Fargo reserves the right to supplement this certificate as needed.




                                                 1
81316776v.1 0105492/00694
           Case 5:19-cv-01094-OLG Document 2 Filed 09/11/19 Page 2 of 3




                                      Respectfully submitted,

                                      LOCKE LORD LLP


                                      By:
                                             B. David L. Foster
                                             Texas Bar No. 24031555
                                             Joel Thomason
                                             Texas Bar No. 24086612
                                             LOCKE LORD LLP
                                             600 Congress Ave., Suite 2200
                                             Austin, Texas 78701
                                             (512) 305-4700
                                             (512) 305-4800 (Facsimile)
                                             dfoster@lockelord.com
                                             jthomason@lockelord.com

                                             Robert T. Mowrey
                                             Texas Bar No. 14607500
                                             LOCKE LORD LLP
                                             2200 Ross Avenue, Suite 2800
                                             Dallas, Texas 75201-6776
                                             (214) 740-8000
                                             (214) 740-8800 (Facsimile)
                                             rmowrey@lockelord.com

                                             ATTORNEYS FOR DEFENDANT




                                         2
81316776v.1 0105492/00694
           Case 5:19-cv-01094-OLG Document 2 Filed 09/11/19 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served as indicated on
this 11th day of September, 2019, to the following:

 VIA U.S. MAIL AND FACSIMILE
 Gregory T. Van Cleave
 The Law Office of Albert W. Van Cleave, III PLLC
 1520 W. Hildebrand
 San Antonio, Texas 78201
 (210) 341-6588
 (210) 701-8481 (Facsimile)
 Attorney for Plaintiff



                                            _                        ______________
                                            Joel Thomason




                                               3
81316776v.1 0105492/00694
